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                                      #531



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

THEODORE JOHNSON,

      Defendant.                                      Case No. 99-cr-30022-DRH



                          MEMORANDUM AND ORDER

HERNDON, Chief Judge:


             On May 19, 2000, the Court sentenced Theodore Johnson to 360

months imprisonment, a fine of $5,000, and five years supervised release (Doc. 289).

Johnson filed a timely notice of appeal on May 30, 2000 (Doc. 296), and the Seventh

Circuit Court of Appeals affirmed his conviction on February 14, 2001. United

States v. Johnson, 2 Fed. Appx. 524 (7th Cir. 2001).

             On May 11, 2001, Johnson then filed a petition under 28 U.S.C. § 2255

alleging various claims (Docs. 1-2 in Johnson v. United States, Case No. 01-cv-306,

(S.D. Ill. 2001)). Johnson subsequently requested leave for to amend and amended

his petition on two occasions (Civ. Docs. 4-7).     The Court nonetheless denied

Johnson’s § 2255 petition on March 1, 2003 (Civ. Doc. 8). On November 22, 2004,

Johnson filed a motion to appeal the denial of his petition (Civ. Doc. 12), which was

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denied on February 11, 2005 for lack of jurisdiction (Civ. Doc. 16). On May 21,

2009, Johnson filed a Rule 60(b) motion to set aside the denial of his § 2255

petition, stating the Court failed to state the grounds for its denial (Civ. Doc. 18).

The Court subsequently denied that motion on January 5, 2010 (Civ. Doc. 19).

             Now before the Court is Johnson’s Petition for the Writ of Audita

Querela (Doc. 611). In his petition, Johnson contends he is entitled to relief from

the sentence imposed by the Court in United States v. Booker, 543 U.S. 220

(2005). The writ of audita querela is an ancient common law writ that has been

abolished in federal civil cases, see FED. R. CIV. P. 60(e), and has no relevance in

criminal proceedings. Melton v. United States, 359 F.3d 855, 856 (7th Cir.

2004). The writ of audita querela appears to be a remedy only for judgment

debtors, not criminal defendants. U.S. v. Kimberlin, 675 F.2d 866, 869 (7th Cir.

1982). Instead, it appears that Johnson is really seeking to vacate, set aside or

correct his sentence, an action properly filed under 28 U.S.C. § 2255. “Any motion

filed in the district court that imposed the sentence, and substantively within the

scope of § 2255, is a § 2255 motion” regardless of what it is titled. Melton, 359

F.3d at 857 (emphasis in original). “Call it a motion for a new trial, arrest of

judgment . . . audita querela . . . the name makes no difference. I t is the substance

that controls.” Id. Therefore, regardless of what Johnson titled his petition, it must

be construed upon the merits of his claims, which convey a request for habeas relief

under § 2255.



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             Under 28 U.S.C. § 2255, a second or successive motion must be

certified by the appropriate court of appeals. 28 U.S.C. § 2255(h). “A district court

must dismiss a second or successive petition . . . unless the court of appeals has

given approval for its filing.” Nunez v. U.S., 96 F.3d 990, 991 (7th Cir. 1996)

(emphasis in original). In order for the Court to consider a second or successive

petition, the Seventh Circuit Court of Appeals must first certify the petition. Id.

             As recounted in the procedural history previously set forth herein,

Johnson has already filed a § 2255 petition. Johnson filed his first § 2255 motion

on May 11, 2001. As Johnson did not obtain prior permission from the Seventh

Circuit Court of Appeals to file a second or successive petition, his Writ of Audita

Querla must be denied for lack of subject matter jurisdiction.

             Accordingly, the Court DISMISSES for lack of jurisdiction Johnson’s

Petition for Writ of Audita Querela (Doc. 611).

             IT IS SO ORDERED.

             Signed this 2nd day of September, 2010



                                              /s/   DavidRHer|do|
                                              Chief Judge
                                              United States District Court




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